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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Novum Pharma, LLC

2.   All other names debtor
     used in the last 8 years
                                  FDBA Underhill, LLC
     Include any assumed          DBA Novum Pharma
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  200 South Wacker Drive
                                  31st Floor
                                  Chicago, IL 60606
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.novumrx.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Novum Pharma, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3254

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                  Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Novum Pharma, LLC                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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                                 NOVUM PHARMA, LLC
                                MANAGER’S CERTIFICATE

                                        February 3, 2019


         The undersigned, Thomas J. Allison, the sole member of the Restructuring Committee
(the “Restructuring Committee”) of the Board of Managers of Novum Pharma, LLC, a Delaware
limited liability company (the “Company”), does hereby certify, as of the date hereof, solely on
behalf of the Company in his capacity as a manager and not in an individual capacity, that
(i) attached hereto as Exhibit A are true, complete and correct copies of resolutions duly adopted
by the Restructuring Committee and (ii) such resolutions have not been modified, rescinded or
amended and are in full force and effect.

        IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date
first written above.


                                             NOVUM PHARMA, LLC



                                             ____________________________________
                                             Thomas J. Allison
                                             Manager
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                     EXHIBIT A

                     Resolutions
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              RESOLUTIONS OF THE RESTRUCTURING COMMITTEE
             OF THE BOARD OF MANAGERS OF NOVUM PHARMA, LLC

                                         February 3, 2019

Chapter 11 Filing

        WHEREAS, the Restructuring Committee (the “Restructuring Committee”) of the Board
of Managers (the “Board”) of Novum Pharma, LLC (the “Company”), with the assistance of the
Company’s Board, officers, consultants and advisors, has evaluated and investigated potential
strategies for the restructuring and refinancing of the Company, which included the potential
filing of a petition by the Company seeking relief under the provisions of chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”); and

         WHEREAS, the Restructuring Committee, having considered, among other things, the
liabilities and liquidity situation of the Company, the strategic alternatives available to the
Company, and the effect of the foregoing on the Company’s business, has determined that it is
desirable and in the best interests of the Company, its creditors and other parties in interest, that
the Company seek relief under the provisions of chapter 11 of the Bankruptcy Code.

        NOW, THEREFORE, BE IT RESOLVED, that Thomas S. O’Donoghue, Jr., in his
capacity as Chief Restructuring Officer (“CRO”) of the Company, be, and hereby is, authorized
and directed on behalf of the Company to commence a case under chapter 11 of the Bankruptcy
Code (the “Chapter 11 Case”) by executing, verifying and delivering a voluntary petition in the
name of the Company under chapter 11 of the Bankruptcy Code and causing the same to be filed
with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)
in such form and at such time as he shall determine.

         RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed, with
full power of delegation, on behalf of and in the name of the Company, to execute, verify and/or
file, or cause to be filed and/or executed or verified (or direct others to do so on their behalf as
provided herein), and to amend, supplement or otherwise modify from time to time, all necessary
or appropriate documents, including, without limitation, petitions, affidavits, schedules, motions,
lists, applications, pleadings and other documents, agreements and papers; and to take any and
all actions which he deems necessary or appropriate; each in connection with the Chapter 11
Case.

       RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed, in
the name and on behalf of the Company, to take and perform any and all further acts and deeds
which he deems necessary, proper or desirable in connection with the Chapter 11 Case, with a
view to the successful prosecution of such case.

Retention of Professionals

        RESOLVED FURTHER, that (i) the retention of the firm CR3 Partners, LLC (“CR3”)
as restructuring and financial advisor to the Company, and the appointment of Thomas S.
O’Donoghue, Jr. as the CRO of the Company, to represent and assist the Company in carrying
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out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Company’s rights and obligations in the Chapter 11 Case, are each hereby ratified and approved
and (ii) the other officers of the Company be, and each hereby is, authorized and directed to
cause to be filed an appropriate application for authority to retain the services of CR3 and to
appoint Thomas S. O’Donoghue, Jr. as CRO of the Company.

        RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed to
employ the law firm of Cole Schotz P.C. (“Cole Schotz”) as general bankruptcy counsel to
represent and assist the Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance the Company’s rights and obligations in the Chapter 11 Case,
including filing any motions, objections, replies, applications or pleadings; and in connection
therewith, the CRO is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of Cole Schotz.

        RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed to
employ the firm of Teneo Capital LLC (“Teneo”) as investment banker to, among other things,
represent and assist the Company in analyzing, effectuating and consummating available
strategic alternatives, including a potential financing transaction, restructuring transaction and/or
sale transaction; and in connection therewith, the CRO is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Teneo.

        RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed to
employ the firm of Kurtzman Carson Consultants LLC (“KCC”) as claims and noticing agent
and administrative agent to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and
obligations in the Chapter 11 Case, including with respect to noticing, claims management and
reconciliation, plan solicitation, balloting, disbursements and assisting with the preparation of the
Company’s schedules of assets and liabilities and statement of financial affairs; and in
connection therewith, the CRO is hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of KCC.

         RESOLVED FURTHER, that the CRO of the Company, be, and hereby is, authorized
and directed, on behalf of and in the name of the Company, to employ and retain such further
legal, restructuring, financial, accounting and bankruptcy services firms (together with the
foregoing identified firms, the “Professionals”) as may be deemed necessary or appropriate to
assist the Company in carrying out its responsibilities in the Chapter 11 Case.




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Cash Collateral

        RESOLVED FURTHER, that the CRO of the Company, be, and hereby is, authorized
and directed, with full power of delegation, on behalf of and in the name of the Company, to
obtain use of cash collateral (the “Cash Collateral Use”) according to the terms approved, or to
be approved, by the Restructuring Committee and the CRO or otherwise approved by the
Bankruptcy Court; and the Company is hereby authorized and directed to take all actions
necessary in connection therewith, including, without limitation, (i) the execution, delivery and
performance of any documents to evidence the Cash Collateral Use and the granting of liens on
and/or security interests in any and all assets of the Company, and (ii) the authorization of filing
and/or recording, as applicable, of financing statements, agreements or any other documents
evidencing and/or perfecting such liens or security interests and amendments to such financing
statements, agreements, mortgages or other documents, and the CRO is hereby authorized and
directed to execute any appropriate agreements, related ancillary documents, supplemental
agreements, instruments, amendments, restatements, amendment and restatements,
modifications, renewals, replacements, consolidations, substitutions, extensions, bills, notes or
certificates on behalf of the Company, which, in each case, shall in the sole judgment of the
CRO, be necessary, proper or advisable in order to perform the Company’s obligations under or
in connection with any of the foregoing.

Sale and Restructuring Transactions

        RESOLVED FURTHER, that the Restructuring Committee has determined, in light of
current circumstances and after consultation with the Company’s Board, officers, consultants and
advisors, and in connection with the filing of the Chapter 11 Case, that it is in the best interests
of the Company, its creditors and other parties in interest to authorize the Company to negotiate
and enter into one or more sale or other restructuring transactions (collectively, the
“Transactions”).

        RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed, in
the name and on behalf of the Company to take actions and negotiate or cause to be prepared and
negotiated and to execute, deliver, perform and cause the performance of any agreements,
certificates, instruments, receipts, petitions, motions or other papers or documents in furtherance
of the Transactions to which the Company is or will be a party, including, but not limited to, any
asset purchase agreement, chapter 11 plan, disclosure statement and ancillary documents related
thereto (collectively, the “Transaction Documents”).

         RESOLVED FURTHER, that the CRO be, and hereby is, authorized and directed, in
the name and on behalf of the Company to take any and all actions to (i) obtain Bankruptcy
Court approval of the Transaction Documents in connection with the Transactions, and
(ii) obtain Bankruptcy Court approval of any Transactions.

       RESOLVED FURTHER, that the CRO be, and hereby is, authorized, with full power of
delegation, in the name and on behalf of the Company, to take or cause to be taken any and all
such further action and to execute and deliver or cause to be executed or delivered, and to
amend, supplement or otherwise modify from time to time, all such further agreements,


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documents, certificates, statements, notices and other writings, and to incur and to pay or direct
payment of all such fees and expenses, as in his judgment shall be necessary, appropriate or
advisable to effectuate the purpose and intent of any and all of the foregoing resolutions.

       RESOLVED FURTHER, that all acts lawfully done or actions lawfully taken by any
current officer or manager of the Company or any of the Professionals in connection with the
Chapter 11 Case or any proceedings related thereto, or any matter related thereto, be, and hereby
are, adopted, ratified, confirmed and approved in all respects as the acts and deeds of the
Company.

        RESOLVED FURTHER, that any and all actions, whether previously or subsequently
taken by the CRO in his capacity as an officer of the Company, or any other person authorized to
act by the CRO in his capacity as CRO of the Company, which are consistent with the intent and
purpose of the foregoing resolutions or in connection with any matters referred to herein, shall
be, and the same hereby are, in all respects, ratified, approved and confirmed.

General Authority

        RESOLVED, that the omission from the foregoing resolutions of any agreement or other
arrangement contemplated by any of the matters described in the foregoing resolutions or any
action to be taken in accordance with any requirement of any of the matters described in the
foregoing resolutions shall in no manner derogate from the authority of the officers, or any of
them, to take all actions necessary, desirable, advisable or appropriate to consummate, effectuate,
carry out or further the transactions contemplated by or in furtherance of any of the foregoing
resolutions.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- x
                                                           :
In re:                                                     :   Chapter 11
                                                           :
NOVUM PHARMA, LLC,                                         :   Case No. 19-_____ (___)
                                                           :
                                    Debtor.1               :
                                                           :
---------------------------------------------------------- x

                             CORPORATE OWNERSHIP STATEMENT

                  Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the following are corporations, other than a governmental unit, that directly or

indirectly own 10% or more of any class of the above-captioned Debtor’s equity interests:

                                        Avondale Investment Rx, LLC




1
         The last four digits of the Debtor’s federal tax identification number are 7895. The mailing address for the
         Debtor is 200 South Wacker Drive, 31st Floor, Chicago, IL 60606.


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Fill in this information to identify the Case:

Debtor Novum Pharma, LLC

United States Bankruptcy Court for the: District of Delaware
                                                                                                            ☐ Check if this is an
Case Number (if known):______________________________                                                           amended filing



OFFICIAL FORM 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                     12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders
of the 20 largest unsecured claims.




Name of Creditor and                Name, telephone number, and email     Nature of the     Indicate if      Amount of unsecured claim
complete mailing address,           address of creditor contact           claim             claim is
including zip code                                                        (example,         contingent,      If the claim is fully unsecured, fill in only
                                                                          trade debts,      unliquidated,    unsecured claim amount. If claim is partially
                                                                          bank loans,       or disputed      secured, fill in total claim amount and
                                                                          professional                       deduction for value of collateral or setoff to
                                                                          services, and                      calculate unsecured claim
                                                                          government
                                                                          contracts)

                                                                                                             Total       Deduction for      Unsecured
                                                                                                             claim, if   value of
                                                                                                             partially   collateral or
                                                                                                             secured     setoff

1.     Connective Rx f/k/a          Dana Seach                            Trade debt                                                        $2,995,983.45
       PSKW, LLC                    dseach@connectiverx.com
       One Crossroads Drive         Marjorie Lewis
       Bedminster, NJ 07921         Marjorie.Lewis@connectiverx.com
                                    (908) 809-6154 (ph)
2.     Cardinal Health 105, Inc.    Jon McWhinney                         Trade debt                                     $1,698,320.00      $2,952,807.40
       15 Ingram Boulevard,         (615) 793-4400 (ph)
       Suite 100                    (614) 757-8337 (fx)
       LaVergne, TN 37086           jonathan.mcwhinney@cardinalhealth.
                                    com
3.     AmerisourceBergen Drug       Laurence Maher                        Trade debt                                                        $1,482,028.72
       Corporation                  (856) 848-3400 (ph)
       1300 Morris Drive            (610) 727-7000 (ph)
       Chesterbrook, PA 19087       lmaher@amerisourcebergen.com
4.     McKesson Financial           Nathan DeBruin                        Trade debt                                                        $659,706.99
       Center                       (972) 446-4800 (ph)
       1220 Senlac Drive            Nathan.DeBruin@McKesson.com
       Carrollton, TX 75006
5.     Mirada Pharmaceuticals       Matthew Redling                       Trade debt        Contingent                                      $366,000.00
       27 Sentinel Drive            (214) 273-7468 (ph)
       Basking Ridge, NJ 07920      mredling@miradarx.com

                                    Reed Smith LLP
                                    (312) 207-6400 (fx)
6.     Sterling Pharmaceutical      Bob Flynn                             Trade debt                                                        $295,202.00
       Services, LLC                (618) 286-6061 (ph)
       9383 Caddyshack Circle       (618) 520-3555 (ph)
       St. Louis, MO 63127          (618) 826-6062 (ph)
                                    bflynn@sterlingpharma.com




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Debtor Novum Pharma, LLC
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                                                                     Case number (if known) __________________________
        Name



Name of Creditor and              Name, telephone number, and email      Nature of the    Indicate if      Amount of unsecured claim
complete mailing address,         address of creditor contact            claim            claim is
including zip code                                                       (example,        contingent,      If the claim is fully unsecured, fill in only
                                                                         trade debts,     unliquidated,    unsecured claim amount. If claim is partially
                                                                         bank loans,      or disputed      secured, fill in total claim amount and
                                                                         professional                      deduction for value of collateral or setoff to
                                                                         services, and                     calculate unsecured claim
                                                                         government
                                                                         contracts)

                                                                                                           Total       Deduction for      Unsecured
                                                                                                           claim, if   value of
                                                                                                           partially   collateral or
                                                                                                           secured     setoff

7.    Sonexus Health, LLC         Jon Kwiatkowski                        Trade debt                                                       $290,615.00
      7000 Cardinal Place         (972) 350-9941 (ph)
      Dublin, OH 43017            (972) 350-0355 (ph)
                                  jonathan.kwiatkowski@sonexushealth
                                  .com
8.    IQVIA (IMS)                 Lynn Stefurak                          Trade debt                                                       $207,665.00
      One IMS Drive               (800) 258-9479 (ph)
      Plymouth Meeting, PA        (949) 476-9131 (fx)
      19462                       lstefurak@us.imshealth.com
9.    TripleFin LLC               Karen Wolford                          Trade debt       Disputed                                        $161,757.27
      11333 Cornell Park Drive    (855) 877-5346 (ph)
      Cincinnati, OH 45242        (513) 386-6412 (ph)
                                  (513) 794-0878 (fx)
                                  Karen.Wolford@eversana.com
10.   Biopharma Operations        Jose DeLeon                            Trade debt                                                       $139,863.00
      LLC                         (973) 879-4603 (ph)
      2000 Route 57               jdeleon@biopharmaoperations.com
      Hackettstown, NJ 07840
11.   NDCHealth Corporation       (800) 872-6245                         Trade debt                                                       $67,377.66
      d/b/a RelayHealth           relayar@mckesson.com
      5995 Windward Parkway
      Alpharetta, GA 30005
12.   Four Seasons Hotel Paris    Ludovic Cayacy                         Trade debt                                                       $60,000.00
      Hotel George V B.V.         33-1 49 52 71 42 (ph)
      31 Avenue George V          33-1 49 52 70 00 (ph)
      Paris, France 75008         33-1 49 52 70 31 (fx)
13.   Tracelink LLC               Karina Morse                           Trade debt                                                       $57,981.00
      400 Riverpark Drive         978-396-6171 (ph)
      Suite 200                   781-914-4900 (ph)
      North Reading, MA           kmorse@tracelink.com
      01864
14.   MMIS, Inc.                  Penny Miller                           Trade debt                                                       $40,000.00
      100 International Drive     (215) 820-2737 (ph)
      Suite 350                   (888) 731-7322 (ph)
      Portsmouth, NH 03801        pmiller@medispend.com
15.   Source Healthcare           Craig Parsons                          Trade debt                                                       $33,556.00
      Analytics, LLC              (434) 951-4097 (ph)
      PO Box 207578               Craig.Parsons@symphonyhealth.com
      Dallas, TX 75320
16.   Optimum Consulting          Scott Schlessinger                     Trade debt                                                       $33,181,.86
      Group                       (312) 573-3500 (ph)
      1150 N. State Street        scott@optimumisnow.com
      Suite 303
      Chicago, IL 60610
17.   PricewaterhouseCoopers      Kenneth Esch                           Professional     Disputed                                        $32,000.00
      LLP                         (877) 351-6402 (ph)                    services
      One North Wacker Drive      (312) 298-3419 (ph)
      Chicago, IL 60606           ken.esch@pwc.com
18.   TKXS, LLC                   Kevin Franey                           Trade debt                                                       $25,740.00
      1500 Perimeter Park         (484) 269.4643 (ph)
      Drive, Suite 300            (704) 727-8142 (ph)
      Morrisville, NC 27560       kevin.franey@technekes.com


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                   Case 19-10209-KJC
Debtor Novum Pharma, LLC
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                                                                     Case number (if known) __________________________
        Name



Name of Creditor and              Name, telephone number, and email      Nature of the    Indicate if      Amount of unsecured claim
complete mailing address,         address of creditor contact            claim            claim is
including zip code                                                       (example,        contingent,      If the claim is fully unsecured, fill in only
                                                                         trade debts,     unliquidated,    unsecured claim amount. If claim is partially
                                                                         bank loans,      or disputed      secured, fill in total claim amount and
                                                                         professional                      deduction for value of collateral or setoff to
                                                                         services, and                     calculate unsecured claim
                                                                         government
                                                                         contracts)

                                                                                                           Total       Deduction for      Unsecured
                                                                                                           claim, if   value of
                                                                                                           partially   collateral or
                                                                                                           secured     setoff

19.   Smith Drug Company          (864) 458-2116 (ph)                    Trade debt                                                       $20,079.36
      9098 Fairforest Road        (800) 572-1216 (ph)
      Spartanburg, SC 29301
20.   Primus Pharmaceuticals,     J.D. Weir                              Trade debt       Disputed                                        Unliquidated
      Inc.                        (480) 483-2604                                          Contingent
      7373 N. Scottsdale Road     jweir@primusrx.com                                      Unliquidated
      Suite B-200
      Scottsdale, AZ 85253        Klehr Harrison
                                  Harvey Branzburg LLP
                                  Attn: David Eagle
                                  (302) 552-5508 (tel)
                                  (302) 426-9193 (fx)
                                  deagle@klehr.com




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